           Case 4:20-cv-00734-LPR Document 32 Filed 10/20/20 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

JAVIOUS L. HUGHES                                                                    PLAINTIFF
#160322

v.                                 Case No. 4:20-cv-00734-LPR

LEONARD HOGG, et al.                                                              DEFENDANTS

                                               ORDER

        The Court has received and reviewed the Proposed Findings and Recommendations

(“Recommendation”) submitted by United States Magistrate Judge Jerome T. Kearney. (Doc. 31).

Plaintiff Javious L. Hughes did not file any objections. After careful review of the Recommendation

and the record, the Court concludes that the Recommendation should be, and hereby is, approved

and adopted in its entirety as this Court’s findings.

        IT IS THEREFORE ORDERED THAT:

     1. Defendants’ second Motion to Dismiss (Doc. 29) is GRANTED.

     2. Defendants’ first Motion to Dismiss (Doc. 15) is DENIED as moot.

     3. Plaintiff’s Complaint (Doc. 2) is DISMISSED without prejudice for failure to prosecute.

     4. The Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that an in forma pauperis appeal taken

        from the Order and Judgment dismissing this action is considered frivolous and not in good

        faith.

        DATED this 20th day of October 2020.



                                                        _________________________________
                                                        LEE P. RUDOFSKY
                                                        UNITED STATES DISTRICT JUDGE
